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   14                      UNITED STATES DISTRICT COURT
   15        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   16                                       Master File No. 2:22-cv-00809-MCS-MAR
   17 In re PANDORA MEDIA, LLC              CONSOLIDATED ACTION

   18
      COPYRIGHT LITIGATION                  COUNTERCLAIM DEFENDANT
                                            WORD COLLECTIONS, INC.’S REPLY
   19                                       MEMORANDUM IN SUPPORT OF
                                            MOTION TO DISMISS PANDORA
   20                                       MEDIA, LLC’S COUNTERCLAIMS
   21 This Document Relates To:
                                            Filed concurrently with Response to Pandora
   22 ALL ACTIONS                           Media, LLC’s Opposition to Request for
                                            Judicial Notice
   23
                                            Date: August 29, 2022
   24
                                            Time: 9:00 a.m.
   25                                       Crtrm.: 7C - First Street Courthouse
                                                    350 W. 1st Street, 7th Floor,
   26                                               Los Angeles, California 90012
   27                                       Assigned to Hon. Mark C. Scarsi
   28

        WORD COLLECTIONS’ REPLY IN SUPPORT OF MOTION TO DISMISS PANDORA’S COUNTERCLAIMS
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    1          Stripped of rhetoric and conclusory adjectives, the facts alleged in Pandora’s
    2 Counterclaims 1 tell a simple story: Pandora knowingly exploited the Comedians’
    3 literary works for a decade without securing a license; the Comedians later signed
    4 up with a licensing agent (Word Collections) to license their copyrights and collect
    5 their royalties; Word Collections notified Pandora that it was infringing and offered
    6 Pandora a license for its clients’ literary works; and when Pandora failed to reply or
    7 counter in any way, the Comedians brought suit for copyright infringement. These
    8 facts do not an antitrust conspiracy make. Pandora’s real complaint is not with a
    9 supposed lack of opportunity to negotiate licenses, it is with having to pay anything
   10 at all. But that is a complaint with copyright law, not the basis for an antitrust claim.
   11 No amount of repetition of the hyperbolic narrative of a “scheme” led by Word
   12 Collections to “orchestrate[] a cartel” and “force” Pandora to pay “exorbitant prices”
   13 for the use of literary works can transform these simple facts supporting legitimate
   14 copyright infringement claims into a treble-damages lawsuit under the Sherman Act.
   15 Pandora’s Opposition (“Opposition” or “Opp.”) (ECF 54) does not overcome the
   16 myriad uncurable pleading defects identified in the Motion to Dismiss (“Motion” or
   17 “Mot.”) (ECF 49). The Counterclaims should be dismissed with prejudice.
   18 I.       PANDORA LACKS STANDING TO PURSUE ITS CLAIMS.
   19          No Standing Based on “Supracompetitive” Rates. As an initial matter,
   20 Pandora has not established actual harm because, as it concedes, it has not actually
   21 entered into a license to exploit the Comedians’ literary works. (Opp. 3.) An
   22 unaccepted offer to license cannot establish the causal antitrust injury necessary for
   23 antitrust standing.2 Edwards Vacuum, LLC v. Hoffman Instrumentation Supply,
   24
   25      1
             Unless otherwise indicated, all abbreviations herein have the same meanings as
   26 set forth in Word Collections’ Motion to Dismiss.
           2
             Pandora argues that Article III requires only “evidence of a credible threat” of
   27
      harm, borrowing case law from the unique environmental context. (Opp. 8.) That is
   28 not the law here; “[t]he Supreme Court has repeatedly reiterated that threatened
        WORD COLLECTIONS’ REPLY IN SUPPORT OF MOTION TO DISMISS PANDORA’S COUNTERCLAIMS
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    1 Inc., 556 F. Supp. 3d 1156, 1170 n.8 (D. Or. 2021); id. at 1172 (“[I]t is difficult to
    2 see how an unaccepted offer to enter into a preferred supplier agreement with a non-
    3 compete clause can cause antitrust injury . . . .”). Nor can Pandora escape the law
    4 that “[n]onpurchasers who are priced out of the market” face an especially high bar
    5 for antitrust standing given “the speculative nature of the harm”. (Mot. 10 (citing
    6 City of Oakland v. Oakland Raiders, 20 F.4th 441, 460 (9th Cir. 2021)).) 3
    7          In addition, as Counterdefendants have explained, that Pandora has licensed
    8 and paid a royalty for sound recordings has no relevance to its failure to license and
    9 pay for past and future use of the underlying copyrighted literary works. Pandora
   10 assumes in its Counterclaims (¶ 6) that rights to literary works exist and could be
   11 licensed “separately” from the sound recordings. Pandora’s failure to license and
   12 pay for the literary works in the past does not support a conclusion that paying
   13 anything going forward amounts to a supracompetitive price increase. Pandora
   14 tellingly offers no response to Intel Corp. v. Fortress Investment Group, 511 F.
   15 Supp. 3d 1006, 1027 (N.D. Cal. 2021), where the court rejected a similar argument
   16 that “royalties were supracompetitive because prior owners did not even assert the
   17 patents in the first place”, holding that the past failure to assert the rights “does not
   18 mean that the patents were worthless”.
   19          Pandora also argues actual harm because it has “already . . . remove[d]” each
   20 Comedian’s catalogue from all of Pandora’s services. (Opp. 7.) But that is not
   21
   22 injury must be certainly impending to constitute injury in fact”. Cal. Chamber of
      Com. v. Council for Educ. & Rsch. on Toxics, 29 F.4th 468, 476 (9th Cir. 2022)
   23 (quotation omitted). Either way, Pandora’s alleged harms do not pass muster.
   24      3
               Pandora incorrectly argues that City of Oakland’s holding applies only where
        the plaintiff “has no prior course of dealing with any defendant”. (Opp. 8.) That
   25
        argument is based on language in an out-of-Circuit case, Montreal Trading Ltd. v.
   26   Amax Inc., 661 F.2d 864, 868 (10th Cir. 1981), and the Ninth Circuit expressly
        declined to adopt that as the law in the Circuit but rather assumed it arguendo and
   27
        still found a lack of standing. City of Oakland, 20 F.4th at 460. In any event, the
   28   alleged course of dealing here was copyright infringement, not a license.
         WORD COLLECTIONS’ REPLY IN SUPPORT OF MOTION TO DISMISS PANDORA’S COUNTERCLAIMS
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    1 harm based on any anticompetitive conduct by Counterdefendants; it is an action
    2 Pandora unilaterally took in the face of copyright infringement litigation and being
    3 offered a go-forward license.4 “[S]elf-inflicted harm doesn’t satisfy the basic
    4 requirements for standing.” Red v. Gen. Mills, Inc., No. 2:15-cv-02232-ODW, 2015
    5 WL 9484398, at *5 (C.D. Cal. Dec. 29, 2015) (quotations omitted). Moreover,
    6 Pandora does not allege how its removal of content from just seven comedians
    7 could, or did, cause it any harm, such as the loss of any customers. It cannot allege
    8 that it is no longer able to offer a viable comedy streaming service without these
    9 works, because it has alleged that it “can provide a viable comedy product with a
   10 relatively modest number of comedy recordings”. 5 (Counterclaims ¶ 34.)
   11          Pandora argues that Word Collections “has locked up numerous comedians,
   12 in a manner that precludes those comedians from negotiating competitive
   13 arrangements”. (Opp. 8.) But Pandora nowhere alleges that it ever attempted to
   14 negotiate a license for literary works with the Comedians at any time. And it
   15 nowhere claims that the Comedians are unable to terminate their agreements at will
   16 and negotiate with Pandora as they please. Omega Env’t, Inc. v. Gilbarco, Inc., 127
   17 F.3d 1157, 1163 (9th Cir. 1997) (“[T]he short duration and easy terminability
   18 of . . . agreements negate substantially their potential to foreclose competition.”).
   19          No Standing Based on Litigation Costs. Finally, Pandora’s response on its
   20 litigation costs theory of standing reflects the weakness of its position. Rather than
   21 engage with the numerous cases Word Collections cited (Mot. 12-13), Pandora cites
   22 language from a single opinion discussing the application of the Noerr-Pennington
   23 doctrine that does not address standing (Opp. 9-10). Pandora offers no response at
   24
   25      4
            Word Collections never requested that the works be removed. (Counterclaims
   26 ¶ 37 (alleging Word Collections asked Pandora to keep the content up).)
          5
            Cf. Intell. Ventures I LLC v. Cap. One Fin. Corp., 99 F. Supp. 3d 610, 621-22
   27
      (D. Md. 2015) (Opp. 7) (alleging that Capital One’s online services could not run at
   28 all without the patented components acquired by Intellectual Ventures).
        WORD COLLECTIONS’ REPLY IN SUPPORT OF MOTION TO DISMISS PANDORA’S COUNTERCLAIMS
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    1 all to Word Collections’ argument that Pandora cannot establish a causal connection
    2 between its litigation costs and the alleged antitrust violation. (Mot. 13.)
    3 II.       NOERR-PENNINGTON BARS PANDORA’S COUNTERCLAIMS.
    4           Word Collections established that Noerr-Pennington bars Pandora’s
    5 Counterclaims. (Mot. 13-15.) In response, Pandora correctly does not argue sham
    6 litigation. Instead, it argues that the anticompetitive conduct “exist[s] independent
    7 of, not incidental to, the comedians’ lawsuits.” (Opp. 11.) Pandora is wrong.
    8           The “anticompetitive activities” alleged by Pandora are Word Collections’
    9 notification to Pandora that, as acknowledged in Pandora’s own SEC filings, it is
   10 using the Comedians’ literary works without a license and the offer of the Proposed
   11 License (which Pandora mischaracterizes as a “demand that Pandora take [a]
   12 blanket license”). Pandora’s assertion that Word Collections offered Pandora a
   13 license “long before litigation was even in view” (Opp. 11) contradicts the judicially
   14 noticeable fact that Word Collections’ CEO sent the Proposed License in March
   15 2021 alongside a notice of copyright infringement (Ex. C), which further establishes
   16 that the alleged conduct was connected to the protected litigation that was initiated
   17 thereafter.6 See Sosa v. DirecTV, Inc., 437 F.3d 923, 936 (9th Cir. 2006). Word
   18 Collections is not using the copyright litigation to “immunize prior anti-competitive
   19 conduct” (Opp. 10); it is invoking Noerr-Pennington to protect its petitioning
   20 activity from retaliatory antitrust claims.
   21           Pandora’s argument that Noerr-Pennington does not apply because it has
   22 allegedly suffered “a host of non-litigation harms” (Opp. 11-12) is also wrong.
   23
   24
   25
            Pandora cites to PrimeTime 24 Joint Venture v. National Broadcasting Co.,
            6

   26 219 F.3d 92, 98-103 (2d Cir. 2000), for the principle that copyright holders may not
      jointly refuse to deal with a copyright infringer. (Opp. 11.) But the Counterclaims
   27
      do not allege a refusal to deal—instead, they complain of the Counterdefendants’
   28 attempt to deal with Pandora by offering the Proposed License.
        WORD COLLECTIONS’ REPLY IN SUPPORT OF MOTION TO DISMISS PANDORA’S COUNTERCLAIMS
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    1 Whether or not Pandora alleges non-litigation harm is a standing issue only. 7
    2 Moreover, as discussed above, Pandora has not alleged any direct financial loss, and
    3 its unilateral decision to remove and/or cease broadcasting the Comedians’ comedy
    4 content either as retaliation for or in response to the copyright claims squarely
    5 supports that its actions fall within Noerr-Pennington. See, e.g., James R. Glidewell
    6 Dental Ceramics, Inc. v. Keating Dental Arts, Inc., No. 11-cv-1309-DOC, 2013 WL
    7 655314, at *13-14 (C.D. Cal. Feb. 21, 2013) (dismissing counterclaim under Noerr-
    8 Pennington despite allegation that it “caused [counterplaintiff] to lose business”).
    9 III.       PANDORA FAILS TO PLEAD A PLAUSIBLE ANTITRUST CLAIM.
   10            A.    Pandora’s Decision Not To Seek Individual Licenses Is Fatal.
   11            Pandora does not contest that an offer to license a pool of rights does not
   12 restrain trade if a “realistic opportunity as a practical matter to obtain individual
   13 licenses” is available. (Opp. 12; see Mot. 15-16 (collecting cases).) Pandora also
   14 does not contest that it has never sought an individual license for the Comedians’
   15 literary works, arguing instead, with no basis, that doing so would have been
   16 “futile”.8 (Opp. 12.) Here, as in Nero AG v. MPEG LA, LLC, Pandora’s conclusion
   17 that it lacks a realistic opportunity to obtain individual licenses is no more than a
   18 “hypothesis”. No. 10-cv-3672-MRP-RZ, 2010 WL 4366448, at *6 (C.D. Cal. Sept.
   19 14, 2010) (rejecting argument based on the “economic infeasibility” of individual
   20 licensing where “Nero has not attempted to determine which patents it needs and to
   21
   22      No Spill, LLC v. Scepter Can., No. 18-2681-HLT-KGG, 2021 WL 3856619, at
             7

      *4 (D. Kan. Aug. 30, 2021), is a standing case that does not mention Noerr-
   23 Pennington at all. And the court in Apple v. Motorola Mobility, Inc., 886 F. Supp.
   24 2d 1061, 1076 (W.D. Wisc. 2012), dismissed the antitrust claim on Noerr-
      Pennington grounds, finding it was premised on the patent litigation because Apple
   25 identified no harm other than litigation costs, but did not hold the inverse.
   26       In Pandora’s cited case, Samsung Elecs. Co. v. Panasonic Corp., No. 10-cv-
             8

      03098-JSW, 2015 WL 10890655, at *5 (N.D. Cal. Sept. 30, 2015), Samsung alleged
   27
      that it “has attempted to negotiate with individual SD Group members” (emphasis
   28 added), and that no member was willing to negotiate separately”.
        WORD COLLECTIONS’ REPLY IN SUPPORT OF MOTION TO DISMISS PANDORA’S COUNTERCLAIMS
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    1 license them individually”). Although it falsely alleges that Word Collections
    2 attempted to force Pandora to take a blanket license, Pandora does acknowledge that
    3 Word Collections is willing to enter into “individual licenses on behalf of its
    4 clients”. (Opp. 13 n.8.) In a desperate attempt to negate that admission, Pandora
    5 asserts that “[t]he individual owners of the right—here, the comedians—are the ones
    6 that must offer the alternative in the marketplace”. (Id.) That is wrong. E.g., CBS,
    7 Inc. v. ASCAP, 620 F.2d 930, 937 (2d Cir. 1980) (individual licenses were realistic
    8 where “a single agency . . . serves as the broker” for individual copyright owners in
    9 similar situations). 9 A realistic alternative has been found where, as here, a
   10 “licensing agent” “repeatedly notified prospective licensees of the availability of
   11 individual licenses” but the licensee “did not respond . . . nor did it seek to negotiate
   12 an individual license or ask for individual licensing rates”. Matsushita Elec. Indus.
   13 Co. v. Cinram Int’l, 299 F. Supp. 2d 370, 374, 377 (D. Del. 2004).
   14          B.    Pandora Fails To State a Claim Under Sherman Act Section 2.
   15          Word Collections’ Motion demonstrated how Pandora fails adequately to
   16 allege that Counterdefendants have market power within a relevant market.
   17 (Mot. 17-21.) Word Collections’ challenge is not about the words Pandora used but
   18 rather its failure to allege a facially plausible, non-conclusory and internally
   19 consistent market within which the Court could analyze the conduct Pandora
   20 alleges. (Mot. 17-19.) Faced with the numerous inconsistencies that Word
   21 Collections identified in its Motion, Pandora muddles things even further.
   22          Pandora does try to address one inconsistency that Word Collections
   23 identified by disclaiming its allegations that desirable and undesirable comedy are in
   24
   25
           “The Supreme Court’s decision [in BMI] applying the rule of reason and
           9

   26 upholding the arrangement makes clear that there is nothing intrinsically harmful
      about copyright pools”, and the presence of alternative licensing options assuages
   27
      concerns that the pool may be used for exclusionary purposes. P. Areeda & H.
   28 Hovenkamp, Antitrust Law ¶ 2043d (5th ed. 2022).
        WORD COLLECTIONS’ REPLY IN SUPPORT OF MOTION TO DISMISS PANDORA’S COUNTERCLAIMS
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    1 separate product markets (Counterclaims ¶¶ 66, 93), stating that they are just
    2 separate products in the same market: the “U.S. market for the rights to comedy
    3 routines embodied in comedy recordings”. (Opp. 17, 23; Counterclaims ¶¶ 71-72.)
    4 But even taking that alleged market at face value, Pandora does not adequately
    5 allege that Word Collections has market power in that market. Its conclusory
    6 allegation that Word Collections has market power because it is “the exclusive
    7 licensor for rights to comedy routines of a critical mass of iconic comedians (and
    8 others)” (Opp. 17-18), is fatally undermined by its failure to allege facts supporting
    9 that Word Collections’ stable of fewer than 40 of the many thousands of comedians
   10 gives it any market power.
   11           As an initial matter, to the extent Pandora is arguing that Word Collections
   12 necessarily has market power as the exclusive licensor of certain IP rights, the
   13 Supreme Court squarely has rejected that argument. Ill. Tool Works Inc. v. Indep.
   14 Ink, Inc., 547 U.S. 28, 45-46 (2006). Beyond that, Pandora’s allegation of market
   15 power simply does not match its alleged market. The alleged market is not the
   16 market for “iconic” or “must have” comedians (whatever that even means, given
   17 consumers’ shifting tastes) or just the routines for the comedians who signed up
   18 with Word Collections; the alleged market is for the rights to comedy routines in all
   19 comedy recordings in the United States. (Counterclaims ¶ 71; Opp. 17, 23.) The
   20 very market definition Pandora alleges assumes that the rights in Word Collections’
   21 portfolio are substitutable with the literary works rights held by Spoken Giants and
   22 with the rights of countless comedians not represented by any agent. Newcal Indus.,
   23 Inc. v. IKON Off. Sol., 513 F.3d 1038, 1045 (9th Cir. 2008) (“[T]he market must
   24 encompass the product at issue as well as all economic substitutes for the
   25 product.”). 10 Pandora simply does not allege how Word Collections has market
   26
   27
            Pandora’s claim that the existence of Spoken Giants is irrelevant to Word
           10

   28 Collections’ market power (Opp. 20 n.15) makes no sense. Both entities’ portfolios
        WORD COLLECTIONS’ REPLY IN SUPPORT OF MOTION TO DISMISS PANDORA’S COUNTERCLAIMS
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    1 power in that market. (Mot. 19-21.) Conclusory allegations that Word Collections
    2 represents a “critical mass” (Opp. 18) are woefully deficient.11
    3         As a last ditch effort, Pandora asserts, with no analysis whatsoever, that just
    4 as ASCAP and BMI, two PROs in the U.S. representing millions of songwriters and
    5 music publishers each have market power, so too does Word Collections with its
    6 few dozen clients. (Opp. 19-20.) That is not enough to survive a motion to dismiss.
    7         C.     Pandora Fails To State a Claim Under Sherman Act Section 1.
    8         Pandora Fails To Allege an Antitrust Conspiracy. Adequate pleading
    9 requires facts, not unsupported assertions. Ashcroft v. Iqbal, 556 U.S. 662, 678
   10 (2009) (Rule 8 “demands more than an unadorned, the-defendant-unlawfully-
   11 harmed-me accusation”). The only factual allegation Pandora offers to support its
   12 price-fixing conspiracy claim among the Comedians is that after ten years of
   13 infringement of their works, the Comedians each signed an exclusive affiliation
   14 agreement with Word Collections that gave it, for the term the agreement is in place,
   15 the power to negotiate the prices at which it would license each Comedian’s rights.
   16 (Counterclaims ¶¶ 51, 85.) There are no factual allegations that they agreed with
   17 each other (as opposed to unilaterally) to work with Word Collections, or that they
   18 agreed Word Collections would be pooling anything or negotiating as a group.
   19 Pandora’s claim is nothing more than “an allegation of parallel conduct and a bare
   20 assertion of conspiracy”, which is insufficient to survive a motion to dismiss. Bell
   21 Atl. Corp. v. Twombly, 550 U.S. 544, 556-57 (2007); see also Intel Corp. v. Fortress
   22 Inv. Grp., No. 19-cv-07651-EMC, 2020 WL 6390499, at *17 (N.D. Cal. July 15,
   23
   24 are in the alleged market, meaning that Spoken Giants could discipline any attempt
      by Word Collections to exercise market power (and vice versa).
   25     11
             Pandora also argues that an increase in price provides evidence of market
   26 power. (Opp. 18.) There was no increase in price, as explained above, but even if
      there were, that alone is not evidence of market power. See, e.g., JBL Enters., Inc.
   27
      v. Jhirmack Enters., Inc., 519 F. Supp. 1084, 1088 (N.D. Cal. 1981) (“That a
   28 product is sold at a higher price . . . is not probative of . . . power to control price.”).
         WORD COLLECTIONS’ REPLY IN SUPPORT OF MOTION TO DISMISS PANDORA’S COUNTERCLAIMS
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    1 2020) (“There are no specific allegations indicating that the defendant PAEs [patent
    2 assertion entities] knew they were part of a broader scheme being facilitated by
    3 Fortress. . . . [U]nilateral action by Fortress cannot sustain a § 1 claim which
    4 requires concerted action involving all the PAEs.”). Instead, the behavior alleged is
    5 completely consistent with economically rational, legal and independent business
    6 decisions by each Comedian to take advantage of the services that agents like Word
    7 Collections offers. (Mot. 23.)
    8         United States v. Apple, Inc., 791 F.3d 290 (2d Cir. 2015) (Opp. 22-23), is
    9 inapposite. After trial, the court found that Apple orchestrated a horizontal
   10 conspiracy among publishers who held meetings in the proverbial smoke-filled
   11 rooms where they strategized together about how to raise prices. Apple, 791 F.3d
   12 at 300, 302-11. No such facts are alleged here. There is no allegation that Word
   13 Collections and the Comedians ever met to discuss royalty rates together or
   14 separately, and thus, no horizontal conspiracy is alleged.
   15         As to any alleged vertical conspiracies between Word Collections and each
   16 Comedian, Pandora cannot seriously contend that a principal and agent are separate
   17 entities for purposes of Section 1. See Freeman v. San Diego Ass’n of Realtors, 322
   18 F.3d 1133, 1147 (9th Cir. 2003) (“The single-entity rule is relevant in a variety of
   19 contexts. . . . It applies to principal-agent relationships.”). Word Collections acts
   20 for the benefit of its clients; their interests and Word Collections’ interests are one
   21 and the same, and thus, they are not “separate economic actors”. (Mot. 23.)
   22         Finally, Pandora invokes the music PROs such as BMI when it thinks it is
   23 helpful and ignores them when not. The Supreme Court held in BMI v. CBS, Inc.,
   24 441 U.S. 1, 9 (1979), that even a true blanket license with a fixed fee (rather than a
   25 usage-based fee, which is what Word Collections offered in the Proposed License
   26 (Mot. 4-5 n.3)), is subject to the rule of reason, not the per se rule. Yet, Pandora
   27 does nothing to take on the various elements of the rule of reason analysis (including
   28 requirement to plead market power and anticompetitive effects) (Mot. 22 n.10).
        WORD COLLECTIONS’ REPLY IN SUPPORT OF MOTION TO DISMISS PANDORA’S COUNTERCLAIMS
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    1           Pandora Fails To State a Section 1 Tying Claim. Pandora readily admits that
    2 it does not allege two separate product markets for the tying and tied products.
    3 (Opp. 17.) Pandora’s assertion that the law contains no such requirement is
    4 incorrect. Notably, both United States v. Paramount Pictures, Inc., 334 U.S. 131
    5 (1948), and United States v. Loew’s, Inc., 371 U.S. 38 (1962) (Opp. 24), predated
    6 Jefferson Parish’s announcement that separate product markets are required for
    7 tying claims.12 Ninth Circuit law has been, and remains, clear that “[t]he existence
    8 of separate markets for the alleged tying and tied products is crucial to a finding of
    9 an unlawful tying arrangement”. Hirsh v. Martindale-Hubbell, Inc., 674 F.2d 1343,
   10 1350 (9th Cir. 1982) (tying claim failed where plaintiff failed to show “the existence
   11 of separate markets for informative and professional card advertising” (citing Times-
   12 Picayune Publ’g Co. v. United States, 345 U.S. 594, 614 (1953))). 13 In any event,
   13 even under outdated law, vague reference to the rights to “desirable comedy
   14 material” versus “other, less desirable material” (Opp. 23) are deficient. See, e.g.,
   15 F.E.L. Publ’ns, Ltd. v. Cath. Bishop of Chi., No. 81-1333, 1982 WL 19198, at *7
   16 (7th Cir. Mar. 25, 1982) (“Establishing the existence of a tying contract requires
   17 more than a bald assertion that some songs are more popular than others.”).
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             Nor did those cases even employ the tying framework that existed at the time.
      See Jefferson Par., 466 U.S. at 37 n.7 (O’Connor, J., concurring). Both cases also
   23 relied heavily on the idea that the copyrights automatically conferred market power,
   24 which, as noted above, has been overruled. Ill. Tool Works, 547 U.S. at 45-46.
          13
             See also Rick-Mik Enters., Inc. v. Equilon Enters., LLC, 532 F.3d 963, 975
   25
      (9th Cir. 2008) (affirming dismissal of tying claim where plaintiff failed to plead
   26 facts “indicating the existence of a separate market” for the tied product); Datagate,
      Inc. v. Hewlett-Packard Co., 60 F.3d 1421, 1423 (9th Cir. 1995) (tying “is a device
   27
      used by a competitor with market power in one market (for the ‘tying’ product) to
   28 extend its market power into an entirely distinct market (for the ‘tied’ product)”).
        WORD COLLECTIONS’ REPLY IN SUPPORT OF MOTION TO DISMISS PANDORA’S COUNTERCLAIMS
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        WORD COLLECTIONS’ REPLY IN SUPPORT OF MOTION TO DISMISS PANDORA’S COUNTERCLAIMS
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